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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
BROWNSVILLE DIVISION

STATE OF TEXAS, et al,

Plaintiffs, Case No, 1:14-cv-254
Vv.

UNITED STATES OF AMERICA, et al.

Defendants

 

 

[PROPOSED] ORDER GRANTING MOTION FOR LEAVE TO PARTICIPATE AS
AMICI CURIAE IN SUPPORT OF PLAINTIFFS BY SHERIFF JOE ARPAIO

Before the Court is a Motion for Leave to Participate as Amicus Curiae in Support of
Plaintiffs by Sheriff Joe Arpaio, elected Sheriff of Maricopa County, Arizona.

The Court hereby grants leave for the aforementioned movant to participate as Amicus
Curiae and file a brief in support of Plaintiffs’ motion for a preliminary injunction which the

Court may consider in assisting the Court evaluating the issues in the case.

Signed this day of , 2015.

 

Hon. Andrew S. Hanen
United States District Judge

 
